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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

   TODD GORDON, MARC and KRISTEN
   MERCER, h/w, MICHELLE FOWLER,
   GREG LAWSON, and JUDY CONARD,
   individually and on behalf of all others
   similarly situated,

           Plaintiffs,

      v.

   CHIPOTLE MEXICAN GRILL, INC.,                   Civil Action No. 1:17-cv-01415-CMA-SKC

           Defendant.

                PLAINTIFFS’ UNOPPOSED MOTION FOR ATTORNEYS’ FEES,
                     LITIGATION EXPENSES, AND SERVICE AWARDS


           PLEASE TAKE NOTICE that at the Final Approval Hearing scheduled for 2:00

   p.m. on December 12, 2019, Plaintiffs will move the Court to enter the proposed order

   submitted herewith granting their unopposed motion seeking (1) the payment of

   $1,200,000 to Class Counsel for the payment of their attorneys’ fees and

   reimbursement of litigation expenses, and (2) the payment of incentive awards to

   Plaintiffs Todd Gordon, Marc Mercer, Kristen Mercer, Michelle Fowler, Judy Conard,

   and Greg Lawson in the amount of $2,500 each ($15,000 total).

           PLEASE FURTHER NOTE that Plaintiffs will rely on the Memorandum of Law

   incorporated herein, Declarations of Counsel, and other related materials in support of

   this motion.

           PLEASE FURTHER NOTE that the parties have conferred regarding the relief

   sought by this motion, and Defendant Chipotle Mexican Grill, Inc. has indicated that it

   does not oppose this motion.



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   Dated: November 1, 2019                 Respectfully submitted,

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                                     CERTIFICATE OF SERVICE

          I hereby certify that on November 1, 2019, I electronically filed a true and correct copy

   of the foregoing filing with the Clerk of the United States District Court for the District of

   Colorado using its CM/ECF system and thereby served the same via the CM/ECF system on

   all counsel of record.



                                                         /s/ Benjamin F. Johns
                                                         Benjamin F. Johns
